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                                         ORDERED.


         Dated: June 19, 2019




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

In re:                                                         Case No.: 8:19-bk-00472-MGW
                                                               Chapter 7
Elsa Maria Sosa

                 DEBTOR(S)                      /


                  ORDER ON TRUSTEE’S MOTION FOR RELIEF FROM
          VIOLATION OF THE AUTOMATIC STAY AND REQUEST FOR SANCTIONS

          THIS CASE came for hearing before the Court on June 13, 2019 at 9:30 am upon Trustee

Carolyn Chaney’s Motion for Relief from Violation of the Automatic Stay and Request for

Sanctions (hereinafter the “Motion”) (Dkt. 27). Richard M. Dauval, Esq. appeared on behalf of

the Trustee. No other appearances were made. The Court, having considered the proffers of

counsel, the papers filed in this case and the record, finds that the Motion is well taken and

should be GRANTED. Accordingly, it is:

          ORDERED AND ADJUDGED:

          1.     The Motion is GRANTED.

          2.     Headwolf, Incorporated, and any other party who, without the consent of the

          Trustee, exercises dominion, control or possession (including the collection of residential

          rents) of real property located at 12534 Lake Vista Drive, Gibsonton, FL 33534, or any
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       other property of the instant bankruptcy estate, is in violation of the automatic stay

       pursuant to § 11 U.S.C. 362.

       3.      Headwolf, Incorporated, and any related parties, shall immediately cease any

       further violations of the automatic stay.

       4.      Headwolf, Incorporated, and any related parties who collected rents duly owed

       to the bankruptcy estate, shall turn the same over to the Trustee within ten (10) days from

       the entry of this order. Said rent shall be tendered to:

                                        Carolyn Chaney, Trustee
                                           P. O. Box 530248
                                       Saint Petersburg, FL 33747

       5.      In the event Headwolf, Incorporated fails to provide the Trustee with the rents

       referenced above, or continues to violate the automatic stay, the Court will consider the

       issuance of a bench warrant directing the United States Marshals Service to take

       possession of the principals of Headwolf, Incorporated and deliver those persons before

       the Court for determination of appropriate sanction.

       6.      The Court shall retain jurisdiction over this matter to consider further enforcement

       of its directives.


Attorney, Richard M. Dauval, Esq., is directed to serve a copy of this order on interested parties
who are non –CM/ECF users and file a proof of service within 3 days of entry of the order.
